                 IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                     CRIMINAL DOCKET NO. 3:09CR189-RJC-DCK


UNITED STATES OF AMERICA      }
          Plaintiff,          }
                              }
  vs.                         }                     ORDER
                              }
SILAS JUNIOR MOBLEY           }
            Defendant         }
______________________________}


       THIS MATTER IS BEFORE THE COURT on the “Motion To Join In Motions Of Co-

Defendants” (Document No. 79), filed by the Defendant, Silas J. Mobley, on August 4, 2010. The

Government has not yet responded, but in light of the imminent trial date in the case, the Court

concludes immediate disposition is appropriate. Having carefully considered the matter, the Court

will grant the motion.

       IT IS THEREFORE ORDERED that the “Motion To Join In Motions Of Co-Defendants”

(Document No. 79)” is hereby GRANTED.

       IT IS FURTHER ORDERED that, consistent with the Standard Criminal Discovery Order

in the case (Document No. 18), the Defendant, Silas J. Mobley, shall be allowed to join in any

motions filed by any co-defendants.


                                               Signed: August 5, 2010




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